            Case 2:09-cr-00158-RAJ            Document 214      Filed 06/17/16       Page 1 of 1




 1                                                                           Hon. Richard A. Jones
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 5
                              UNITED STATES DISTRICT COURT FOR THE
 6
                                WESTERN DISTRICT OF WASHINGTON
 7                                        AT SEATTLE
 8
      UNITED STATES OF AMERICA,                             NO. CR09-158RAJ
 9
                               Plaintiff,
10
                         v.                                 ORDER GRANTING
11                                                          GOVERNMENT’S MOTION
                                                            TO SEAL DOCUMENT
12
      KAUSHAL KAINTH,
13
14                             Defendant.
15
16           Having read the Government’s Supplement Regarding Sentencing in the above-

17 captioned case, which was filed under seal, and the Government’s Motion to Seal
18 requesting that the Government’s Supplement be allowed to remain under seal, and the
19 Court finding good cause,
20           It is hereby ORDERED that the Government’s Motion to Seal (Dkt. #212) is
21 GRANTED. The Government’s Supplement Regarding Sentencing in this matter shall
22 remain sealed.
23           DATED this 17th day of June, 2016.
24
25                                                         A
26                                                         The Honorable Richard A. Jones
                                                           United States District Judge
27
28

     Order Granting Government’s Motion to Seal Document                         UNITED STATES ATTORNEY
                                                                                 1201 PACIFIC AVENUE, SUITE 700
     CR09-158RAJ/Kainth - 1                                                       TACOMA, WASHINGTON 98402
                                                                                         (253) 428-3800
